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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UL LLC,

         Plaintiff,                                        No. 24-cv-05631

 v.                                                        Judge Andrea R. Wood

 JOSHUA CALLINGTON,

         Defendant.

       INTERIM DOCUMENT PRESERVATION AND NON-DISCLOSURE ORDER

        Consistent with the Court’s decisions, rulings and instructions made during the Initial

Status Conference in the above matter on September 17, 2024, the Court now enters the

following Document Preservation and Non-Disclosure Order:

        1.      Plaintiff UL LLC (“UL”) alleges that Defendant Joshua Callington (“Callington”)

is now in possession of confidential information, trade secrets, and other information that

belongs to UL and/or UL’s customers or their suppliers or other business partners. UL alleges

that Callington transferred such information to his personal possession during the time he

worked for UL as an independent contractor and/or employee, and alleges that Callington has

wrongfully refused to return the information and dispossess himself of the information. (See,

e.g., Complaint (ECF NO. 1) ¶¶ 1, 2, 4, 47-52, 64-69.)

        2.      Except for the limited circumstances further described below in Paragraph 4 of

this order, or until further order of this Court or other written and signed agreement by the

Parties, neither Callington nor any third parties acting in concert with Callington, shall destroy,

use and/or disclose any documents or information alleged to belong to UL and/or UL’s customers




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or their suppliers or other business partners that is in Callington’s or any such third parties’

possession, custody, or control. These documents and information include:

               •     Audit reports, including onsite notes, audit process and methods, certain

                     confidential photos taken of the customers’ suppliers’ internal facilities,

                     equipment and/or operations that are not generally open to or disclosed to

                     the public, and communications prepared by Callington while he worked as

                     an independent contractor and/or employee for UL, all of which is

                     information that is complied, assembled, analyzed and/or organized by UL

                     as part of its internal audit procedures and processes;

               •     Audit reports and related confidential documentation prepared by UL

                     employees and/or independent contractors other than Callington;

               •     Internal UL communications on audit procedure and process;

               •     Internal information and documents of UL’s customers, suppliers and

                     business partners, including the identity and contact information of the

                     customers’, suppliers and business partners’ key representatives with respect

                     to social responsibility compliance audits; and,

               •     UL’s internal information pertaining to its audit procedures and practices.

       3.      The above referenced documents and information that fall within the scope of this

order are further described in UL’s Complaint at Paragraphs 49, 50, 51, 52, 56, 57, 58, 66, 68, 79

and 94. UL alleges that an investigation into Callington’s conduct that preceded the filing of this

lawsuit determined that the above referenced documents and information are items Callington

emailed, transferred, and saved to his personal accounts and otherwise possessed while working

for UL as an independent contractor and/or employee.


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       4.      The restrictions in Paragraph 2 of this order on the destruction, use and/or

disclosure of any documents or information alleged to belong to UL and/or UL’s customers or

their suppliers or other business partners, do not restrict Callington’s ability to disclose such

documentation and information to any appropriate Federal, State or local law enforcement or

government agency and/or official. Any such disclosure shall comply with the disclosure

requirements set forth in the Federal Defend Trade Secret Act. See 18 U.S.C. § 1833.

       5.      Except as provided in this order, and as the Court instructed during the Initial

Status Conference, Callington is prohibited from using or disclosing the documentation and

information governed by this order for any personal business or financial interests. Nor may he

disclose or share any such documentation or information with any media outlet, or post or

otherwise disclose such documentation or information on the internet.

       6.      In the event that Callington receives a subpoena or other request of any kind from

any party or entity, including a Federal, State or local law enforcement or government agency

and/or official, that requests his production of documents or information that otherwise fall

within the scope of this order, Callington shall promptly notify UL’s counsel of record and

provide UL a reasonable opportunity, and in no instance less than seven (7) calendar days, to

lodge objection(s) to such subpoena or other request with a Court of competent jurisdiction

and/or seek a protective order related to such subpoena or other request from this Court.

            7. Until further order of this Court or other written and signed agreement by the

Parties, Callington, and all third parties acting in concert with him, shall preserve and maintain

all of the documentation and information that falls within the scope of this order and which is

described above in Paragraphs 2 and 3 of this order, and shall hereafter neither undertake nor

permit any activity at any time during the remainder of this proceeding that will cause deletion



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and/or destruction of information, documents, and any other evidence that is potentially relevant

to this lawsuit.

SO ORDERED THIS 24th DAY OF SEPTEMBER, 2024.




 Andrea R. Wood
 United States District Judge




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